- -  ° U.S. DISTRICT COURT
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UNITED STATES DISTRICT COURT
DISTRICT OF NEW HAMPSHIRE

Kamal Karna Roy also known as Lepper
Dr. Joseph Geronimo, Jr.
for We the Peopl Jungle SCommne Lhd

Democracy —

 

 

Vv. Civil No. 07~-cv-199-SM

We the People b overnment Authorit \j Nae

eorge W. Bush nited States of America
Hillary Rodham Clinton, Joseph Liberman
SS

 

 

Eliot Spitzer
REPORT AND RECOMMENDATION 4 —Leass
Plaintiff has filed a pile of papers with “gibberish” i

writings that the Clerk accepted as a complaint. Because it was al
incomprehensible and did not comply with LR 5.1 or Fed. R. Civ. Plas dA,
P. 8(a), I ordered that plaintiff refile it in accordance with LR Mov
5.1 and Rule 8 (not 5 as indicated). Plaintiff failed to refile 23

as directed. The court lacks jurisdiction over any of et NS
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parties. = recommend that the “complaint” be dismissed without wr ~

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prejudice.

Any objections to

    
 
Committee v. rdon,

States v. Valencia-Copete,

Date:

cc:

979 F.2d 11,

13-14 (lst Cir.

792 F.2d 4, 6 (1st Cir.

1992);

1986).

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James ® mes

Muirhead

United States Magistrate Judge

August 21, 2007

Kamal Karna Roy,

pro se

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